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                     IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA
                              SPARTANBURG DIVISION

IN RE: EVELYN K HARRIS,                         )       CHAPTER 13
                                                )
        Debtor,                                 )       CASE NO. 21-00825-hb


EVELYN K. HARRIS,                               )
                                                )
        Plaintiff,                              )       CONTESTED MATTER
                                                )
vs.                                             )
                                                )
TITLEMAX OF SOUTH CAROLINA,                     )       AP CASE NO. 21-80036-hb
INC.,                                           )
                                                )
        Defendant.                              )

       DEFENDANT’S BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION FOR
      TEMPORARY RESTRAINING ORDRE AND PRELIMINARY INJUNCTION

        Plaintiff’s Complaint for turnover and associated Motion for Injunctive Relief

misconstrues the nature of Plaintiff’s interests in the subject collateral. At no time in the underlying

bankruptcy case has the subject collateral itself been property of the estate – merely a right to

redeem the collateral. To better illustrate this, a brief review of the facts is necessary.

        On March 17, 2020, Evelyn K. Harris and TitleMax of South Carolina, Inc. (“TitleMax”)

entered a Supervised Loan Agreement, Promissory Note and Security Agreement whereby

TitleMax provided a refinanced loan in the amount of $8,964.34 to Ms. Harris in exchange for a

security interest in her 2008 Nissan Titan (VIN: 1N6BA07D88N361020) (“the Vehicle”)

(collectively the “Agreement”). Pursuant to the Agreement, Ms. Harris’ primary obligation was to

make installment payments as they came due. Ms. Harris failed to make timely payments,

however, and upon going into default, upon default and prior to Ms. Harris filing her Chapter 13
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petition in this case, TitleMax repossessed the Vehicle on March 21, 2021. At the time of

repossession Ms. Harris owed arrears on her account of $13,279.11.

        Both the Agreement itself and South Carolina law provided an opportunity to redeem or

“buy back” the Vehicle any time before the Vehicle was sold to a third-party. Rather than attempt

to redeem the Vehicle, however, Ms. Harris filed a Voluntary Petition for Relief under Chapter 13

of the Bankruptcy Code (Case No. 21-00825-hb) three days after repossession on March 24, 2021.

With her proposed plan, Ms. Harris attempted to modify the Agreement and cram down TitleMax’s

debt by demanding to pay only $4,825.00 of the $13,279.11 balance. Therein lies Ms. Harris’

misunderstanding of the parties’ respective rights in the Vehicle.

       While 11 U.S.C. § 1322(b)(2) affords debtors the ability to modify the rights of certain

secured creditors in their Chapter 13 plan, debtors “succeed[] to no greater interest in an asset than

that held by the debtor at the time the bankruptcy petition was filed.” Dunlap v. Cash Am. Pawn

of Nashville (In re Dunlap), 158 B.R. 724, 727 (M.D. Tenn. 1993). In this case, at the time of filing

the petition --the moment the estate was created – Ms. Harris held a mere right to redeem the

Vehicle. To date, Ms. Harris has made no attempt to redeem. Black’s Law Dictionary, Definition

of “Redeem” (“To buy back. To liberate an estate or article from mortgage or pledge by paying

the debt for which it stood as security.”). Should the plan be amended to redeem via payment in

full, then Ms. Harris will have exercised this right and the Vehicle will be immediately turned

over. Indeed, this option has been presented to her and her counsel on multiple occasions and

certainly prior to confirmation and the filing of this adversary action.

       This Court’s July 22, 2021 Order on Confirmation in the underlying bankruptcy case does

not change this analysis because no timely proof of claim was filed. Neither Ms. Harris nor the

Trustee filed a proof of claim by July 2, 2021, the time prescribed by Fed. R. Bankr. P. 3004. As
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a result, TitleMax will not be paid through the plan. See Fed. R. Bankr. P. 3004 (allowing a debtor

or the trustee to file a proof of claim on behalf of a creditor); Fed. R. Bankr. P. 3021 (after

confirmation, the trustee makes distributions to creditors with allowed claims, namely those for

which a proof of claim has been filed); In re Bateman, 331 F.3d 821, 827 (11th Cir. 2003)(“[T]he

debtor also has an interest in ensuring that a proof of claim is filed, if the secured creditor neglects

to do so, because the debtor is the party seeking the protection of the bankruptcy court and the

ultimate benefit of the discharge of his or her liabilities.”); Hon. W. Homer Drake, Hon. Paul W.

Bonapfel & Adam M. Goodman, Chapter 13 Practice and Procedure §11A:13 (2014)(“Debtors

who want a lien extinguished must, therefore, make sure that the plan provides for it and file a

proof of claim on behalf of the creditor if it fails to do so.”). This means even had Ms. Harris still

owned the Vehicle at the time her plan was confirmed, TitleMax’s claim would still not have been

extinguished because Ms. Harris’ plan failed to provide for the Vehicle. As a result, Ms. Harris is

unable to show that she is likely to succeed on the merits of her turnover action.

       For the reasons stated in this brief, Defendant respectfully requests that Plaintiff’s Motion

be DENIED.

       Respectfully submitted this 9th day of September, 2021.



                                               /s/ Nathan E. Huff
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TITLEMAX OF SOUTH CAROLINA,                    )       AP CASE NO. 21-80036-hb
INC.,                                          )
                                               )
       Defendant.                              )

                                  CERTIFICATE OF SERVICE

        This is to certify that I have this day served the following parties in this matter with a copy
of the within and foregoing RESPONSE IN OPPOSITION by depositing a true and correct copy
in the U.S. Mail with sufficient postage affixed thereto and properly addressed or served
electronically via the Court’s CM/ECF system to the parties listed below:

                Evelyn K Harris                                 Gretchen D. Holland
               488 Carolyn Drive                                Ch. 13 Trustee Office
             Spartanburg, SC 29306                         20 Roper Corners Circle, Suite C
                                                                Greenville, SC 29615
           Dana Elizabeth Wilkinson
             Wilkinson Law Firm
          365-C East Blackstock Road
            Spartanburg, SC 29301


                                               /s/ Nathan E. Huff
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